396 F.2d 444
    In the Matter of IRA HAUPT &amp; CO., a Limited Partnership, Bankrupt.KAMERMAN &amp; KAMERMAN, Appellant,v.Charles SELIGSON, as Trustee in Bankruptcy of Ira Haupt &amp;Co., Appellee.
    No. 451, Docket 32114.
    United States Court of Appeals Second Circuit.
    Argued June 10, 1968.Decided June 11, 1968.
    
      Murray H. Paloger, New York City, for appellant.
      Harvey R. Miller, New York City (Seligson &amp; Morris, New York City), for appellee.
      Before FRIENDLY, SMITH and KAUFMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      The District Court for the Southern District of New York here confirmed a report of Referee Ryan in the bankruptcy of Ira Haupt &amp; Co., which denied a claim for $11,600 by Kamerman &amp; Kamerman for accounting services in preparing 1963 income tax returns allegedly rendered to the debtor-in-possession in a Chapter XI proceeding which has been superseded by an adjudication in bankruptcy.  The Referee's denial was on the basis that the applicant had not carried its burden of establishing how much of the services for which compensation was claimed had been rendered after May 12, 1964, when its retention had been authorized-- as distinguished from prior services in connection with 1963 income tax returns of Ira Haupt &amp; Co. for which $7800 had already been paid.  We cannot say that this finding, approved by the district court, was 'clearly erroneous.'  General Order 47.  On the other hand, it seems clear that some services were rendered after May 12, 1964, and counsel for the Trustee stated at the argument before us that the Trustee would not oppose an award for services which Kamerman &amp; Kamerman could specifically identify as having been so rendered.  Our affirmance should therefore not be read as precluding the Referee from making such an allowance if, on satisfactory proof of the amount of such services, he is so advised.
    
    
      2
      Affirmed.
    
    